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            1    GIBSON, DUNN & CRUTCHER LLP
                 THEODORE J. BOUTROUS JR., SBN 132099
            2      tboutrous@gibsondunn.com
                 THEANE EVANGELIS, SBN 243570
            3      tevangelis@gibsondunn.com
                 BLAINE H. EVANSON, SBN 254338
            4      bevanson@gibsondunn.com
                 HEATHER L. RICHARDSON, SBN 246517
            5      hrichardson@gibsondunn.com
                 333 South Grand Avenue
            6    Los Angeles, CA 90071-3197
                 Telephone: 213.229.7000
            7    Facsimile: 213.229.7520
            8    Attorneys for Defendant UBER TECHNOLOGIES, INC.
            9

          10                                    UNITED STATES DISTRICT COURT

          11                                 NORTHERN DISTRICT OF CALIFORNIA

          12                                         SAN FRANCISCO DIVISION

          13     CHRISTOPHER JAMES and SPENCER                   CASE NO. 3:19-CV-06462-EMC
                 VERHINES, individually and on behalf of
          14     others similarly situated,                      DEFENDANT UBER TECHNOLOGIES,
                                                                 INC.’S REPLY IN SUPPORT OF ITS
          15                           Plaintiffs,               MOTION FOR CLARIFICATION OR, IN
                                                                 THE ALTERNATIVE, FOR LEAVE TO
          16           v.                                        FILE A MOTION FOR
                                                                 RECONSIDERATION
          17     UBER TECHNOLOGIES, INC.,
                                                                 Hearing
          18                           Defendant.                Date: March 11, 2021
                                                                 Time: 1:30 p.m.
          19                                                     Place: Courtroom 5
          20                                                     Judge: Hon. Edward M. Chen
                                                                 Action Filed: October 8, 2019
          21                                                     Trial Date: None Set
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            1                                           I.         INTRODUCTION
            2            Plaintiffs take the remarkable position that this Court’s class-certification order definitively,
            3    and properly, rejected a complete defense on the merits that would defeat every class member’s
            4    claims—before the class members were given the opportunity to decide whether to opt out of the class
            5    action. Plaintiffs are grossly mistaken. Such a decision at this stage of the proceedings would directly
            6    violate the one-way intervention rule, and would be particularly inappropriate given that the parties
            7    have not briefed the dispositive merits question of Proposition 22’s effect on claims accruing before its
            8    passage.
            9            Plaintiffs argue that the rule against one-way intervention forbids issuance of only a final
          10     judgment before a class is certified—not a mere ruling on a case-dispositive merits issue. But as
          11     Plaintiffs acknowledge, this Court already has rejected that argument (as have numerous other courts
          12     within this circuit), and for good reason: A ruling effectively prejudging a future summary judgment
          13     motion enables putative class members to know a critical result before deciding whether to be bound
          14     by it. See Diva Limousine, Ltd. v. Uber Techs., Inc., 392 F. Supp. 3d 1074, 1095 (N.D. Cal. 2019)
          15     (Chen, J.). Fairness demands that the Court not enable putative class members to gain the benefit of a
          16     merits ruling before they make the decision whether to opt out of the class.
          17             Uber respectfully request that the Court clarify or reconsider its discussion of that merits issue,
          18     and issue a superseding opinion that omits the discussion contained in the Court’s original order. The
          19     parties can brief the merits of Proposition 22’s retroactivity at the appropriate stage of the proceedings.
          20                                                 II.    ARGUMENT
          21             Plaintiffs do not deny that the Court can clarify its ruling on this Motion; they dispute only
          22     whether Uber has met the test for its alternative request for leave to seek reconsideration. Whether by
          23     clarification or reconsideration, the Court should issue an amended opinion omitting the discussion of
          24     the merits at lines 29:3–30:1 of its class certification order.
          25     A.      The Court Should Amend Its Order to Clarify That It Did Not Rule on the Dispositive
                         Merits Issue of Proposition 22’s Retroactive Effect
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                         Plaintiffs contend that the Court need not clarify its class certification ruling because the order
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                 “correct[ly]” issued a merits “holding” that “Proposition 22 is not retroactive.” Dkt. 145 (Opp.) at 1.
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            1    But a merits ruling on a case-dispositive issue that affects the entire class violates the rule against one-
            2    way intervention. The parties never briefed the issue or presented it for the Court’s resolution, and
            3    such a ruling was unnecessary to the Court’s certification decision. The Court should therefore clarify
            4    that it did not rule on the merits that Prop 22 applies only to post-December 16, 2020 claims, and should
            5    issue a superseding opinion omitting the discussion of retroactivity at lines 29:3–30:1 of its order.
            6           1.       Prejudging the Merits Would Violate the Rule against One-Way Intervention
            7           Plaintiffs argue that the Court ruled against Uber on a dispositive merits issue, effectively pre-
            8    judging a not-yet-filed motion for summary judgment before putative class members must decide
            9    whether to opt out of the lawsuit. See, e.g., Opp. at 9 (“The Court … should stand by its correct
          10     conclusion in the Class Certification Order that Proposition 22 is not retroactive.”). And Plaintiffs say
          11     this is acceptable, because “the one-way intervention rule is intended to avoid final judgments on the
          12     merits prior to class certification” and “the Court’s ruling that Proposition 22 is not retroactive does
          13     not inform class members whether the case will ultimately be decided in their favor.” Id. at 5–6
          14     (emphasis added).
          15            Plaintiffs do not, and cannot, deny that the opposite merits ruling—that Prop 22 is retroactive—
          16     would have telegraphed the end of this litigation and informed putative class members that they will
          17     lose on the merits such that failure to opt out would forfeit their claims. See Dkt. 144 (Mot. to Clarify)
          18     at 5. Indeed, such a ruling would have effectively left no class to certify at all, thus automatically
          19     sparing putative class members from a dispositive merits ruling against them. See id. This is the
          20     emblematic issue potentially “fatal to [Plaintiffs’] case” that presents one-way intervention problems.
          21     Diva Limousine, 392 F. Supp. 3d at 1095.
          22            Plaintiffs concede that this Court already has found “meritless” their contention that “one-way
          23     intervention only becomes a problem when a plaintiff seeks a final judgment on the merits prior to
          24     class certification.” Id. The Court’s ruling in Diva Limousine was correct because a “merits ruling,
          25     even if not a final judgment, can still affect putative class members’ decisions whether or not to opt
          26     in.” Id. Plaintiffs do not dispute this. They instead argue that the Court was wrong in Diva Limousine
          27     because “Rule 23 dictates the opposite: that class certification should be resolved ‘as soon as
          28     practicable.’” Opp. at 6 n.2. But they do not explain how deciding class certification before addressing

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            1    the merits is the “opposite” of deciding class certification “as soon as practicable.” In fact, the “as soon
            2    as practicable” language was added to require exactly that result. See Am. Pipe & Const. Co. v. Utah,
            3    414 U.S. 538, 547 (1974).
            4             Plaintiffs note that courts often decide a defendant’s motion to dismiss, arguing that a named
            5    plaintiff has not stated her claim, before class certification. Opp. at 6. But that scenario does not
            6    present the same concerns—both because the defendant is requesting a ruling before class certification
            7    and because a pleadings decision simply determines which issues are in the case and which (for
            8    example) must instead be pursued in arbitration. See id. at 6 n.3. “Although Plaintiffs are correct that
            9    in the abstract, class members may always judge whether to opt-out or not based on how well the
          10     litigation is going so far, here, allowing absent plaintiffs to make that determination after the Court
          11     adjudicates issues of liability in the underlying case would unfairly prejudice Defendant[].” Diva
          12     Limousine, 392 F. Supp. 3d at 1095–96 (citation omitted). As Plaintiffs’ headline case explains, the
          13     1966 amendments to Rule 23 were designed to prevent “the potential that members of the claimed class
          14     could in some situations await developments in the trial or even final judgment on the merits in order
          15     to determine whether participation would be favorable to their interests. “If the evidence at the trial
          16     made their prospective position as actual class members appear weak, or if a judgment precluded the
          17     possibility of a favorable determination, such putative members of the class who chose not to intervene
          18     or join as parties would not be bound by the judgment.” American Pipe, 414 U.S. at 547 (emphasis
          19     added). Here, a ruling that Prop 22 is retroactive would have not only been a “development[]” that
          20     made putative class members’ case “appear weak”; it would have “precluded the possibility of a
          21     favorable determination.” Id. The Court could not rule that Prop 22 is retroactive, so it could not issue
          22     the opposite merits ruling either. 1
          23
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          24          Plaintiffs cite three out-of-circuit cases that they say support their view. The only appellate case
                      did not “address th[e one-way intervention] issue” because it “reverse[d] the district court’s grant
          25          of class certification on other grounds.” London v. Wal-Mart Stores, Inc., 340 F.3d 1246, 1253
                      (11th Cir. 2003). One of the two district court cases reasoned only that “[t]he Sixth Circuit has
          26          consistently held that a district court is not required to rule on a motion for class certification before
                      ruling on the merits of a case” (Bowers v. Windstream Kentucky E., LLC, 2012 WL 216616, at *1
          27          (W.D. Ky. Jan. 24, 2012) (punctuation omitted))—a contention the Sixth Circuit refuted the next
                      month in Gooch v. Life Invs. Ins. Co. of Am., 672 F.3d 402, 432 (6th Cir. 2012) (cited in Diva
          28          Limousine, 392 F. Supp. 3d at 1095–96). In the other, the defendant did not oppose deciding
                                                                                                         (Cont’d on next page)
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            1            2.       Opining on the Merits Was Unnecessary to Certify the Class
            2            As Plaintiffs do not deny, Prop 22 governs at least post-December 16 claims and “the amended

            3    complaint, as currently written, contains no allegations that Uber does not comply with section 7451’s

            4    requirements, which is what Plaintiffs must allege (and eventually prove) in order to reclassify Uber’s

            5    drivers as employees” under Prop 22. Dkt. 143 at 30; see also Dkt. 137 (Uber Supp. Br.) at 1–5. That

            6    is all the Court needed to say in order to certify the class it certified—one cut off at December 16, 2020.

            7    See Mot. to Clarify at 5–7.

            8            That undisputed fact refutes Plaintiffs’ citationless and explanation-free assertions that “a

            9    finding of retroactivity could arguably affect the scope of the certified class” and “it was logical and

          10     efficient for the Court to consider this question in connection with ruling on Plaintiffs’ motion for class

          11     certification.” Opp. at 1, 9. The only way for a finding of retroactivity to affect the scope of the class

          12     would be by ruling that no putative class member has any claims, because Prop 22 makes them

          13     independent contractors—a dispositive merits ruling that putative class members would evade. The

          14     opposite merits ruling is unnecessary to certify a class, as the Court’s actual class certification opinion

          15     demonstrates. See Mot. to Clarify at 5–7.

          16             Plaintiffs do not deny that the only question for the Court was “whether the requirements of

          17     Rule 23 are met” (Dkt. 143 at 3) and that a merits discussion in a class certification opinion cannot be

          18     binding on (or even influence) the eventual merits ruling. See Mot. to Clarify at 5–6. Thus, there was

          19     no cause for the Court to opine on the merits. All the Court needed to say is what it said elsewhere in

          20     the order: that the complaint does not allege that Uber fails to meet Prop 22’s requirements, and that

          21     the legal question whether Prop 22 governs all of the claims is a common merits question. See id. at

          22     6–7.

          23             3.       The Court Did Not Have the Benefit of Merits Briefing
          24             The Court asked in its supplemental briefing order only how Prop 22 affected the class
          25     certification analysis. Plaintiffs did not raise retroactivity in their motion or their reply—only in their
          26

          27        summary judgment before class certification, and the court did not conclusively rule on the merits
                    of class members’ claims but left that merits issue to be resolved “at trial.” Reyes v. BCA Fin.
          28        Servs., Inc., 2018 WL 5004864, at *2–4 (S.D. Fla. Oct. 15, 2018). This Court’s ruling in Diva
                    Limousine—and those of the in-circuit cases it cites—are more pertinent and persuasive.
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            1    supplemental brief, to which Uber was not permitted to file a response brief. See id.
            2              Plaintiffs argue that Uber nonetheless should have “sought permission” to do what was not
            3    allowed by the Local Rules and the Court’s order. Opp. at 2–3. Uber was not required to seek leave
            4    to correct Plaintiffs’ errant discussion of the merits; instead, it properly reiterated at the hearing that
            5    the merits question of retroactivity was not at issue. See Mot. to Clarify at 3. As Plaintiffs do not deny,
            6    due process precludes the Court from issuing a merits ruling without providing Uber notice that a merits
            7    ruling is forthcoming and an opportunity to present argument on what it should be. See id. at 8–9.
            8    B.        In the Alternative, the Court Should Reconsider Its Merits Discussion
            9              Plaintiffs argue that Uber has not met the standard for reconsideration. Opp. at 2–4. But
          10     reconsideration is Uber’s alternative request; Plaintiffs do not deny that the Court can clarify its ruling
          11     regardless of whether Uber has met the reconsideration standard. See Mot. to Clarify at 9 n.1.
          12               In any event, Plaintiffs are wrong. Reconsideration is proper under Local Rule 7-9(b)(1) and
          13     (b)(3).    Plaintiffs do not deny that Uber has shown diligence.         They argue that Uber has not
          14     demonstrated “any changes in material fact” since the Court issued its opinion (Opp. at 3), but that is
          15     not required. Rule 7-9(b)(1) requires only “a material difference in fact or law … from that which was
          16     presented to the Court.” L.R. 7-9(b)(1) (emphasis added). Uber briefed class certification, because
          17     that was all that was at issue. Mot. to Clarify at 10–11. Uber did not and could not know that Plaintiffs
          18     would brief the merits and that the Court would issue an opinion on the merits, with no opportunity for
          19     Uber to respond. Id. Plaintiffs also argue that reconsideration is not available under Local Rule 7-
          20     9(b)(3) because Uber insufficiently alerted the Court to its “dispositive legal argument[]” (L.R. 7-
          21     9(b)(3)) that the merits were not at issue. Opp. at 4. In reality, not only did Uber raise this argument
          22     with respect to the very merits ruling the Court issued—both in its supplemental brief (even though it
          23     did not know that Plaintiffs would be briefing the merits) and at the hearing—it also argued generally
          24     that the Court could not “prejudge the merits.” Dkt. 137 at 5 n.4; Dkt. 142 at 8:21, 10:9–10, 19:23–25,
          25     29:10–25. The Court recognized that “the issue is not[,] on class certification, who is going to win or
          26     who is going to lose or who has got the better case on the merits” (Dkt. 142 at 3:6–8); it just overlooked
          27     Uber’s point that this principle precludes it from issuing a ruling on Prop 22’s retroactivity.
          28               Plaintiffs finally argue that the Court should not reconsider its merits ruling because that

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            1    decision was correct. Opp. at 7–9. But they do not address Uber’s arguments to the contrary. Dkt.
            2    144-1 (Mot. for Reconsideration) at 5–9.
            3           On retroactivity, Plaintiffs cite Evangelatos v. Superior Court, 44 Cal. 3d 1188 (1988) and note
            4    that Prop 22 does not contain an express retroactivity provision. Opp. at 7. But they do not address
            5    the language of Prop 22 codifying its purpose to end litigation seeking to force an employment
            6    relationship and to preserve existing independent contractor status, nor Prop 22’s section defining app-
            7    based drivers as independent contractors, nor extrinsic sources (including public commentary from its
            8    principal opponent) telling the voters that Prop 22 is retroactive. Mot. for Reconsideration at 8–9.
            9           On abatement, Plaintiffs contend that Prop 22 did not repeal AB 5. Opp. 8. But they do not
          10     ask the Court to reconsider its conclusion that “Prop 22 … repeal[ed] AB 5 with respect to app-based
          11     drivers.” Dkt. 143 at 28:7. As Uber explained (Mot. for Reconsideration at 5–6), numerous abatement
          12     cases state explicitly that the electorate “need not repeal a statute in its entirety” to trigger abatement.
          13     Fitzpatrick v. Tyson Foods, Inc., 2016 WL 5395955, at *3 (E.D. Cal. Sept. 27, 2016) (emphasis added),
          14     aff’d, 714 F. App’x 797, 797–98 (9th Cir. 2018). Even a change in legislative policy that “leav[es] the
          15     original language in the statute and add[s] exceptions to the rule”—a far less dramatic revision than
          16     Prop 22 made—would suffice. Id.; accord, e.g., Zipperer v. Cty. of Santa Clara, 133 Cal. App. 4th
          17     1013, 1024–25 (2005) (“amendment” of the statute, creating an exemption, suffices); Rossetti v.
          18     Stearn’s Prods., Inc., 2016 WL 3277295, at *3–4 (C.D. Cal. June 6, 2016) (abating UCL claims even
          19     though the prior “version of the statute upon which Plaintiff relies” “still reads much the same … but
          20     it has now importantly been qualified by … additional provisions granting new protections to [the
          21     defendants]”). The question is not whether Prop 22 is a “repeal” in the sense discussed in Plaintiffs’
          22     repeal-by-implication cases; 2 rather, “[t]he pivotal issue is whether the legislation constitutes ‘a
          23     substantial reversal of legislative policy’ that represents ‘the adoption of an entirely new philosophy’
          24     vis-à-vis the prior enactment.” Zipperer, 133 Cal. App. 4th at 1025. There is no question Prop 22 is a
          25     substantial reversal of the policy behind AB 5, representing an entirely new philosophy. That Prop 22
          26     does not “express[ly]” use the word “repeal” is irrelevant to the abatement analysis. Id. at 1024–25.
          27

          28     2
                     None of Plaintiffs’ cited cases address abatement, except Governing Bd. v. Mann, 18 Cal. 3d 819,
                     829 (1977), which held that the action was abated.
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            1           Even if repeal were required to trigger abatement (it is not), Prop 22’s express purpose—and
            2    the clear intent of the electorate in passing it—was to classify app-based drivers as independent
            3    contractors “[n]otwithstanding any other provision of law” and to end the “threat[]” posed by AB5 to
            4    the “flexible work opportunities” of Californians who “work as independent contractors … using app-
            5    based rideshare and delivery platforms.” Cal. Bus. & Prof. Code, §§ 7449(d), 7451. Even the Attorney
            6    General said Prop 22’s “chief point and purpose” was “to carve out app-based transportation and
            7    delivery companies from th[e] generally applicable classification standard” of “the ABC test in
            8    Dynamex and … AB 5.” Answer to Petition at 23, White v. Padilla, No. 34-2020-8000-3438
            9    (Sacramento, Cal. Super. Ct. Aug. 3, 2020). That is a repeal of AB 5—a partial repeal, for app-based
          10     drivers only, but a repeal nonetheless.
          11            Although Uber need not meet the standard for an implied repeal, Prop 22 does meet the test.
          12     “[T]here is no possibility of concurrent operation” of the two statutes, as may be the case when two
          13     statutes addressing different subjects seem to point in different directions and they are silent as to which
          14     controls. Opp. 8 n.4 (citation and punctuation omitted). “The statutory phrase ‘notwithstanding any
          15     other law’ has been called a ‘term of art’ that declares the legislative intent to override all contrary
          16     law.” Klajic v. Castaic Lake Water Agency, 121 Cal. App. 4th 5, 13 (2004) (citations omitted; emphasis
          17     added). “[I]ncluding a ‘notwithstanding any other law’ provision is a method—akin to an express
          18     reference to the superseded statute—by which [a legislature] can demonstrate that it intended to
          19     partially repeal an Act.” United States v. Novak, 476 F.3d 1041, 1052 (9th Cir. 2007) (en banc)
          20     (punctuation omitted); see, e.g., In re Marriage of Cutler, 79 Cal. App. 4th 460, 475 (2000) (applying
          21     new statute to pending claims because its “notwithstanding any other provision of law” provision
          22     “signals a broad application overriding all other code sections”). Prop 22 overrides and repeals AB 5
          23     as to app-based drivers.
          24                                               III.   CONCLUSION
          25            The Court should issue a superseding class certification opinion that omits the discussion on
          26     retroactivity (lines 29:3–30:1). In the alternative, the Court should grant leave to file the motion for
          27     reconsideration, grant reconsideration, and issue a superseding opinion.
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            1    Dated: February 12, 2021
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            3

            4                                           By: /s/ Theane Evangelis
                                                                          Theane Evangelis
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                                                        Attorney for Defendant UBER TECHNOLOGIES, INC.
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Gibson, Dunn &                                              8
Crutcher LLP
                                    REPLY IN SUPPORT OF MOTION FOR CLARIFICATION OR
                         FOR LEAVE TO FILE MOTION FOR RECONSIDERATION / CASE NO. 3:19-CV-06462-EMC
